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 1           ROGER D. WILSON SBN: 192207
            LAW OFFICE OF ROGER D. WILSON
 2                  2377 West Shaw Avenue, Suite 208
                         Fresno, California 93711
 3                     Telephone: (559) 233-4100
                        Facsimile: (559) 746-7200
                      Email: roger@wilson-law.com
 4

 5

 6    Attorney for Defendant, SADOL DIAZ-BELTRAN

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 8

 9                                IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                       ******
11
      UNITED STATES OF AMERICA,                              Case No.: 1:18-cr-00246-DAD-BAM
12
                         Plaintiff,
13                                                           WAIVER OF DEFENDANT’S
               v.                                            PERSONAL PRESENCE; ORDER
14                                                           THEREON
15    SADOL DIAZ-BELTRAN

16                       Defendant.

17

18             Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant Sadol Diaz-Beltran, having been

19    advised of his right to be present at all stages of the proceedings, hereby requests that this Court

20    proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.

21             Defendant agrees that his interests shall be represented at all times by the presence of

22    his attorneys of record the same as if Defendant were personally present, and requests that this

23    court allow his attorneys-in-fact to represent his interests at all times. Defendant further agrees

24    that notice to Defendant’s attorney that Defendant’s presence is required will be deemed notice

25    to the Defendant of the requirement of his appearance at same time and place.

26             This request is made because it is very difficult for defendant to make the trip from Los

27    Angeles to Fresno because of financial reasons.

28    ///


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 1             Respectfully submitted,

 2     Dated:       January 22, 2019        By:                /s/ Sadol Diaz-Beltran
 3                                                           SADOL DIAZ-BELTRAN
                                                                     Defendant
 4                                                           (Original Signature in File)

 5

 6

 7     Dated:       January 22, 2019        By:              /s/ Roger D. Wilson
 8                                                               ROGER D. WILSON
                                                                 Attorney for Defendant
 9                                                            SADOL DIAZ-BELTRAN
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11                                                --o0o--
12

13                                                ORDER

14             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s

15    appearance may be waived at any and all non-substantive pretrial proceedings until further
16
      order.
17
               IT IS SO ORDERED.
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19
      Dated: January 24, 2019                               /s/ Barbara A. McAuliffe
20                                                 UNITED STATES MAGISTRATE JUDGE
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